~~ Casé 2:23-cv-14236-AMC Document 43 Entered on FLSD Docket 11/27/2023 Page 1of4

 Lof2
THIS IS A SWORN AFFIDAVIT AND MUST BE SIGNED BEFORE A NOTARY

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA Fy) cp BY.
FORT PIERCE DIVISION

NOV 27 2023
ANGELA E, NOBLE

CLERK U.S, DIST. CT,
S, D, OF FLA. - FT. PIERCE

CASENO: 2.2 23 -CV- NYU230 Amc
_SHONDA T. HARRIS. (USD.C.,SD. Fla)

Plaintiffs,

Kerry Ch ales, br al

Defendants.

AFFIDAVIT

Before me, the undersigned authority, on this day personally appeared

Nh onda \. A CUCL ‘5___ who, upon being duly sworn, deposes and says

(List statements in numerical order that Affiant is swearing to)

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tetirn al Toten’ 0 Sue on 8/7/2022 by Me,

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Ma erry Charles. al and Mes Braciford responds

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2 Counsel Tor Deleon dant Gail c.Pracklord, CS
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[ understand that | am swearing or affirming under oath to the truthfulness

of the claims made in this petition and that the punishment for knowingly making

a false statement includes fines and/or imprisonment.

WDoetel- 27-4023 Shorcle Tw AOU

. Signature of Petitioner <
Mailing Address 19.07) Ayenwe D”
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3S. Counsel for Defendant (s7 tn Vhe Bercy Charlee a)

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STATE OF FLORIDA
COUNTY OF
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KEVIN MONCAYO
=} Notary Public - State of Florida

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Clerk of the CU 00.0. GC. 3D. Ele :)
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COUNTY OF

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